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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

____________________________________
                                      )
UNITED STATES OF AMERICA,             )
                                      )
                           Plaintiff, )
                                      )
                  v.                  )                Civil Action No. 3:20-cv-01534-CSH
                                      )
YALE UNIVERSITY,                      )
                                      )
                          Defendant, )
____________________________________)

        MEMORANDUM OF LAW IN SUPPORT OF MOTION TO INTERVENE

       Proposed Plaintiff-Intervenor Students for Fair Admissions, Inc. (“SFFA”) moves to

intervene as a plaintiff in this case. SFFA is the leading organization in this country fighting for

students’ right to be free of racial discrimination in the college admissions process. In recent years,

SFFA has brought high profile lawsuits against Harvard, the University of North Carolina, and the

University of Texas at Austin, challenging their use of race in the admissions process. SFFA is a

nonprofit membership group of more than 20,000 students, parents, and others who believe that

racial classifications and preferences in college admissions are unfair, unnecessary, and

unconstitutional.

       At least one of SFFA’s members was denied admission to Yale’s 2020 entering class on

account of his race. This applicant is ready and able to apply to transfer to Yale when it stops

discriminating against applicants on the basis of race and ethnicity. SFFA seeks to intervene in

this case to protect the rights of this applicant and SFFA’s other members. Because SFFA is

entitled to intervention as of right and, alternatively, permissive intervention, the Court should

grant SFFA’s motion to intervene.




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                                        BACKGROUND

       SFFA is an Internal Revenue Code Section 501(c)(3), voluntary membership organization

formed for the purpose of defending human and civil rights secured by law, including the right of

individuals to equal protection under the law, through litigation and other lawful means. Blum

Dec. ¶ 2. More specifically, SFFA promotes and protects the right of the public to be free from

discrimination on the basis of race in higher-education admissions. Id. SFFA’s membership

includes more than 20,000 students, parents, and others who believe that racial classifications and

preferences in college admissions are unfair, unnecessary, and unconstitutional. Id. ¶ 3. SFFA has

members throughout the country. Id.

       SFFA has at least one member (“Applicant”) who applied for and was denied admission to

Yale’s 2020 entering class. Blum Dec. ¶ 4. The Applicant is Asian-American. Id. ¶ 5. As the

United States’ investigation into Yale shows, the Applicant was denied the opportunity to compete

for admission to Yale on equal footing with other applicants on the basis of race or ethnicity. That

is because, among other reasons, Yale discriminates against Asian-American and White applicants

at “virtually every step of its admissions process,” including the admissions decisions themselves.

U.S. Compl. ¶¶ 165-80. The Applicant is ready and able to apply to transfer to Yale when it stops

discriminating against applicants on the basis of race and ethnicity. Blum Dec. ¶ 7.

       SFFA is the leading organization in the country seeking to end racial discrimination in

higher education. In November 2014, SFFA sued Harvard University under Title VI of the Civil

Rights Act. See Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll.

(Harvard Corp.), 397 F. Supp. 3d 126, 132 (D. Mass. 2019). SFFA, like the United States here,

uncovered longstanding discrimination against Asian Americans in the admissions process. SFFA

also found that Harvard used race as more than a “plus” factor, engaged in racial balancing, and

failed to employ race-neutral alternatives. Although the trial court ruled for Harvard, this case is


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currently on appeal. See id. SFFA also brought suit against the University of North Carolina at

Chapel Hill, challenging the university’s use of race in the admissions process. See Students for

Fair Admissions, Inc. v. Univ. of N.C., No. 1:14-cv-954-LCB-JLW (M.D.N.C. 2014). This case

will go to trial on November 9, 2020. And, in July of 2020, SFFA filed suit against the University

of Texas at Austin, bringing similar claims against the university’s race-based admissions process.

See Students for Fair Admissions, Inc. v. Univ. of Tex. at Austin, No. 1:20-cv-763 (W.D. Tex.

2020).

         SFFA moves to intervene in this case to continue its fight for racial equality in educational

admissions and to protect the rights of its members. In its proposed complaint, SFFA raises six

claims: (1) intentional discrimination, (2) racial balancing, (3) using race as more than a mere “plus

factor,” (4) using race for more than filling the “last few” seats in an entering class, (5) failing to

use race-neutral alternatives, and (6) unlawfully using race as a factor in admissions. SFFA Compl.

¶¶ 205-64, a-f. SFFA seeks, inter alia, a declaratory judgment that Yale’s admissions policies and

procedures violate Title VI and an injunction prohibiting Yale from using race as a factor in future

admissions decisions. Id.

                                            ARGUMENT

         The Federal Rules of Civil Procedure provide for “intervention of right” under Rule 24(a)

and “permissive intervention” under Rule 24(b). SFFA satisfies both standards.

I.       SFFA is entitled to intervene as of right.

         The district court must grant a plaintiff’s motion to intervene under Rule 24(a)(2) if “(1)

the motion is timely; (2) the applicant asserts an interest relating to the property or transaction that

is the subject of the action; (3) the applicant is so situated that without intervention, disposition of

the action may, as a practical matter, impair or impede the applicant’s ability to protect its interest;




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and (4) the applicant’s interest is not adequately represented by the other parties.” Laroe Estates,

Inc. v. Town of Chester, 828 F.3d 60, 66 (2d Cir. 2016). SFFA meets all four requirements.

        A.      SFFA’s motion is timely.

        SFFA’s motion is “timely” because it was filed less than three weeks after the United States

filed this complaint. Yale has not answered or moved to dismiss the complaint, and no discovery

has occurred. SFFA moved expeditiously to file this motion, and permitting SFFA to intervene

will not prejudice any party. SFFA’s motion is timely. See, e.g., Am. S.S. Owners Mut. Prot. and

Indem. Ass’n., Inc. v. Alcoa S.S. Co., 2005 WL 427593, at *4 (S.D.N.Y. Feb. 22, 2005) (“There is

no dispute that the motion to intervene is timely, having been filed only a few months after the

Club filed its complaint in this multi-party action.”).

        B.      SFFA has an interest in this action.

        A party has a right to intervene if it “claims an interest relating to the property or transaction

that is the subject of the action.” Fed. R. Civ. P. 24(a)(2). This interest is sufficient for intervention

if it is “‘direct, substantial, and legally protectable,’” as opposed to “remote from the subject matter

of the proceeding, or … contingent upon the occurrence of a sequence of events before it becomes

colorable.” Brennan v. N.Y. City Bd. of Educ., 260 F.3d 123, 129 (2d Cir. 2001) (quoting Wash.

Elec. Coop., Inc. v. Mass. Mun. Wholesale Elec. Co., 922 F.2d 92, 97 (2d Cir. 1990)).

        SFFA satisfies this requirement too. SFFA is a nonprofit membership group of more than

20,000 students, parents, and others who believe that racial classifications and preferences in

college admissions are unfair, unnecessary, and unconstitutional. Blum Dec. ¶ 3. SFFA has at least

one member who applied for and was denied admission to Yale’s 2020 entering class. Id. ¶ 4. This

applicant is ready and able to apply to transfer to Yale when it stops discriminating against

applicants on the basis of race and ethnicity. Id. ¶ 7. SFFA seeks, inter alia, a permanent injunction

prohibiting Yale from using race as a factor in future admissions decisions. See SFFA Compl.


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¶¶ 205-64, a-f. A judgment against Yale could allow SFFA’s members to compete for admission

to Yale on equal footing with other applicants. SFFA thus has a strong interest in remedying the

harm that Yale’s discrimination has caused to its members. See Hunt v. Wash. State Apple Advert.

Comm’n, 432 U.S. 333, 343 (1977) (associations can bring suits on behalf of their members); see,

e.g., Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll. (Harvard Corp.),

397 F. Supp. 3d 126, 132 (D. Mass. 2019) (SFFA lawsuit against Harvard for racial discrimination

in the admissions process).

       C.       SFFA’s interest may be impaired without intervention.

       A party has a right to intervene if it “is so situated that disposing of the action may as a

practical matter impair or impede the movant’s ability to protect its interest.” Fed. R. Civ. P. 24(a).

SFFA satisfies this requirement because SFFA’s ability to protect its interests would be impaired

or impeded by an adverse decision in this case.

       If Yale prevails in this case, the decision could form precedent that could perpetuate Yale’s

discrimination against SFFA’s members and prevent SFFA from bringing a future lawsuit to

protect its members from that discrimination. This potential precedential effect is sufficient to

warrant intervention as of right. See Sackman v. Liggett Grp., Inc., 167 F.R.D. 6, 21 (E.D.N.Y.

1996) (“[T]he stare decisis effect of a court’s decision is sufficient to demonstrate the requisite

impairment of an interest to support a motion to intervene.”); N.Y. Pub. Interest Research Grp.,

Inc. v. Regents of the Univ. of the State of N.Y., 516 F.2d 350, 352 (2d Cir. 2000) (same). At a

minimum, “[t]he reality is that [SFFA] would at least find itself waging an uphill battle” to

challenge an admissions process that had already been upheld as constitutional. Hartford Fire Ins.

Co. v. Mitlof, 193 F.R.D. 154, 162 (S.D.N.Y. 2000). SFFA’s interest thus may be impaired without

intervention.




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       D.      SFFA’s interest will not be adequately protected by the parties to the action.

       A party has a right to intervene if “existing parties” may not “adequately represent” the

intervenor’s interest. Fed. R. Civ. P. 24(a). SFFA meets this requirement as well. Although both

the United States and SFFA seek a declaratory judgment and injunction prohibiting Yale from

continuing its racial discrimination under Title VI, SFFA has a unique interest in the outcome. The

United States has sued, in part, to ensure that “‘public dollars, drawn from the tax contributions of

all citizens, do not serve to finance the evil of private prejudice.’” U.S. Compl. ¶ 1 (quoting City

of Richmond v. J.A. Croson Co., 488 U.S. 469, 492 (1989) (plurality opinion)). SFFA, by contrast,

seeks to protect its members’ rights to be free of racial discrimination in the admissions process

when applying to Yale. See, e.g., Schaghticoke Tribal Nation v. Norton, No. 3:06CV81 (PCD),

2006 WL 1752384, at *6 (D. Conn. June 14, 2006) (“[I]nadequate representation by the [f]ederal

[government] is more likely to be found if the Movant[] assert[s] a personal interest that does not

belong to the general public.”) (cleaned up).

       Moreover, unlike the United States, SFFA seeks a broader injunction prohibiting Yale from

ever using race as a factor in admissions decisions. See SFFA Compl. ¶¶ 250-64. This too supports

intervention. See, e.g., Schaghticoke Tribal Nation, 2006 WL 1752384, at *7 (D. Conn. June 14,

2006) (government does not provide adequate representation if it has not “demonstrated sufficient

motivation to … present all colorable contentions”); Ctr. for Biological Diversity v. Zinke, No.

CV-18-00047-TUC-JGZ, 2018 WL 3497081, at *4 (D. Ariz. July 20, 2018) (government does not

provide adequate representation if it will not “undoubtedly make all the intervenor’s arguments,”

is not “capable and willing to make such arguments,” or “would neglect” elements raised by

intervenor). Because the United States and SFFA do not have a complete “congruence of

interests,” there is inadequate representation. Brennan, 260 F.3d at 133.




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II.    Alternatively, SFFA should be allowed to permissively intervene.

       SFFA is also entitled to permissive intervention. Permissive intervention under Rule 24(b)

is “discretionary with the trial court.” H.L. Hayden Co. of N.Y. v. Siemens Med. Sys., Inc., 797 F.2d

85, 89 (2d Cir. 1986). A district court may grant a motion for permissive intervention if the

application is timely and if the ‘“applicant’s claim or defense and the main action have a question

of law or fact in common.’” In re Holocaust Victim Assets Litig., 225 F.3d 191, 202 (2d Cir. 2000)

(quoting Fed. R. Civ. P. 24(b)(2)). The court also must consider “whether granting permissive

intervention ‘will unduly delay or prejudice the adjudication of the rights of the existing parties.’”

Id. (quoting Fed. R. Civ. P. 24(b)(2)). SFFA satisfies these requirements.

       First, as explained above, SFFA’s motion is timely. It was filed less than three weeks after

the United States filed its complaint. No answer or motion to dismiss has been filed and no

discovery has occurred. See supra 4.

       Second, SFFA’s claims share with the main action common questions of law or fact. If

SFFA were to bring its own lawsuit challenging Yale’s admissions process, its lawsuit would

implicate the precise facts at issue here. SFFA’s discovery would involve, among other things,

reviewing admissions files and databases, deposing admissions officers and university leaders, and

putting forth expert witnesses to analyze Yale’s admissions outcomes. See generally SFFA v.

Harvard, 397 F. Supp. 3d at 133-83 (describing facts and witnesses concerning Harvard’s

admissions process). SFFA, like the United States, also brings claims against Yale under Title VI.

See SFFA Compl. ¶¶ 205-64.

       Finally, granting permissive intervention to SFFA will not “unduly delay or prejudice the

adjudication of the original parties’ rights.” To the contrary, considerations of judicial economy

weigh in favor of intervention. “The purpose of … intervention is to prevent a multiplicity of suits

where common questions of law or fact are involved.” Wash. Elec. Co-op., Inc. v. Mass. Mun.


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Wholesale Elec. Co., 922 F.2d 92, 97 (2d Cir. 1990); see, e.g., United States v. Pitney Bowes, Inc.,

25 F.3d 66, 69 (2d Cir. 1994) (“Intervention … attempts to … efficiently administrat[e] legal

disputes by resolving all related issues in one lawsuit.”). If SFFA is not granted intervention, it

would be forced to file its own separate lawsuit against Yale, creating additional litigation and

burdens for all parties and this Court. Permissive intervention is designed to prevent this

“multiplicity of suits.” Wash. Elec. Co-op., Inc., 922 F.2d at 97; see, e.g., Golden Ins. Co. v. PCF

State Restorations, Inc., No. 17-CV-5390 (BCM), 2018 WL 10593630, at *7 (S.D.N.Y. May 11,

2018) (intervention warranted in light of “overarching considerations of economy and efficiency

that undergird … permissive intervention”); Nu-Chem Labs., Inc. v. Dynamic Labs., Inc., No. 96-

CV-5886 (JS), 1998 WL 35180780, at *4 (E.D.N.Y. May 19, 1998) (same). Thus, at a minimum,

SFFA should be granted permissive intervention.

                                         CONCLUSION

       For the foregoing reasons, the motion to intervene should be granted.




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                                         Respectfully submitted,

Dated: October 27, 2020                  /s/   J. Michael Connolly

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on counsel of

record for the United States via the Court’s electronic filing and service on October 27, 2020. A

true and correct copy of the foregoing has been served on Yale University via UPS overnight at

the addresses below on October 27, 2020:



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                                                     /s/   J. Michael Connolly

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